USCA4 Appeal: 24-1430      Doc: 14         Filed: 08/26/2024    Pg: 1 of 2




                                            UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                              No. 24-1430


        ELBERT GAYNOR,

                            Plaintiff - Appellant,

                     v.

        CALVIN BALL; JACOB DAY; WES MOORE,

                            Defendants - Appellees.



        Appeal from the United States District Court for the District of Maryland, at Baltimore.
        George L. Russell, III, Chief District Judge. (1:23-cv-02152-GLR)


        Submitted: August 22, 2024                                        Decided: August 26, 2024


        Before WILKINSON, WYNN, and RICHARDSON, Circuit Judges.


        Dismissed by unpublished per curiam opinion.


        Elbert Gaynor, Appellant Pro Se.


        Unpublished opinions are not binding precedent in this circuit.
USCA4 Appeal: 24-1430         Doc: 14       Filed: 08/26/2024     Pg: 2 of 2




        PER CURIAM:

               Elbert Gaynor seeks to appeal the district court’s order denying his motion to

        reconsider the order dismissing his complaint for failure to comply with a court order. We

        dismiss the appeal for lack of jurisdiction because the notice of appeal was not timely filed.

               In civil cases, parties have 30 days after the entry of the district court’s final

        judgment or order to note an appeal, Fed. R. App. P. 4(a)(1)(A), unless the district court

        extends the appeal period under Fed. R. App. P. 4(a)(5) or reopens the appeal period under

        Fed. R. App. P. 4(a)(6). “[T]he timely filing of a notice of appeal in a civil case is a

        jurisdictional requirement.” Bowles v. Russell, 551 U.S. 205, 214 (2007).

               The district court entered its order on March 5, 2024, and the appeal period expired

        on April 4, 2024. Gaynor filed the notice of appeal on May 9, 2024. Because Gaynor

        failed to file a timely notice of appeal or to obtain an extension or reopening of the appeal

        period, we dismiss the appeal and deny Gaynor’s motions for a stay and to file a

        supplemental informal brief.

               We dispense with oral argument because the facts and legal contentions are

        adequately presented in the materials before this court and argument would not aid the

        decisional process.

                                                                                        DISMISSED




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